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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

CAPRECE BYRD, et al.,

               Plaintiffs,                                Case No. 17-cv-12626
                                                          Hon. Matthew F. Leitman
v.

VISALUS, INC., et al.,

           Defendants.
__________________________________________________________________/

       ORDER (1) DENYING PLAINTIFFS’ EMERGENCY MOTION FOR
       PROTECTIVE ORDER AND APPOINTMENT OF INTERIM CLASS
    COUNSEL (ECF #22) AND (2) DISSOLVING STIPULATED ORDER (ECF #27)

        On September 13, 2017, Plaintiffs filed an emergency motion in which they asked

the Court to, among other things, order the Defendants to cease certain communications

with members of the putative class and appoint Plaintiffs’ counsel as interim class counsel.

(See ECF #22.) The Court thereafter entered a stipulated interim order with respect to

Plaintiffs’ motion. (See ECF #27.) The Court held a hearing on the motion on December

8, 2017. (See ECF #40.)

        For the reasons stated on-the-record at the December 8, 2017, hearing, (1) Plaintiffs’

motion (ECF #22) is DENIED and (2) the parties’ stipulated order (ECF #27) is

DISSOLVED.

        IT IS SO ORDERED.

                                           /s/Matthew F. Leitman
                                           MATTHEW F. LEITMAN
                                           UNITED STATES DISTRICT JUDGE
Dated: December 11, 2017

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       I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on December 11, 2017, by electronic means and/or ordinary
mail.

                                                s/Holly A. Monda
                                                Case Manager
                                                (810) 341-9764




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